                  Case: 1:23-cv-01975 Document #: 1 Filed: 03/29/23 Page 1 of 8 PageID #:1
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                                              UNITED STATES DISTRICT COURT
                                              NORTHERI\ DISTRICT OF ILLINOIS




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                                                                                                             THOMAS G BRUTON
 *
                                                                                                         CLERK, U.S. DISTRICT COURT


      this action)

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                                                                            1   :23+v{1975
                                                                       (1
                                                                            Judge Matthal F. KennellY
                                                                            Mag-istrate Judge Jeffrey T' Gilbert
                                                                            PC2
                                                                            RANDOM




      (Enter aboveihEfull name of AL
      defendants in this action. Do not



      CHECK ONE ONLY:
              ,/
         \/                   coMpLAINT UNDERTHE CIVI               RTGHTS ACT, TITLE 42 SECTION 1983
                              U.S. Code (state, county, or municipal defendants)

                              coMpLArNT UNDER THE CONSTITUTION ("BMNS" ACTION), TITLE
                              28 SECTION 1331 U.S. Code (federal defendants)
              /
         t{                   OTHER (cite statute, if known)

      BEFORE FILLING OAT THIS COMPL,AINT, PLEASE REFER TO "INSTRUCTIONS FOR
      FILING." FOLLOW THESE INSTRACTIONS CAREFALLY.




                    [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:23-cv-01975 Document #: 1 Filed: 03/29/23 Page 2 of 8 PageID #:2
  ilf you need additional space for ANY section, please attach an additional sheet and reference that sectlon.l




Plaintiff(s):

A.          Nam

B.          List all aliases:

C.

D.

E.          Address:

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of confinement, and current address according to the above format on a
separate sheet of paper.)

Defendant(s):
(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)

A.          Derendant:        U, f3.?,*.kcr
            Title:

            Place    orEmploym*,'           .$rlc, ,€ XiliIoi:
            Defendant:       Gfaf, [lp*
            Title:

            Place of    Employment:           n fts                                                    rlr. ffii
            Defendant:

            Title:

            Place of Employment:



according to the above format on a separate sheet of paper.)




                                                                                                              Revised 9/2007




  [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]
       Case: 1:23-cv-01975 Document #: 1 Filed: 03/29/23 Page 3 of 8 PageID #:3
         [f you need additional space   for ANY section, please attach an additional sheet and reference that section.]




III.   List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
       court in the United States:

       A.                 ofcase and docket number:


                 Approximate date of filing lawsuit:

                 Llst all plaintiffs (if you had co-plaintiffs), including any aliases:




       D.        List all defendants:




                 Court in which the lawsuit was filed (if federal                        ,   name the   district;if
                 name the county):


                \ame ofjudge^to whom                case was assigned:



                 Basic claim made:
                                                                                                                                       lt
       G.
                          \l



       H.
                          lr-3     iS .dlOv,Z1,r,s, $. Jru1 CdrA u oS gadeai>r2tl1er
                                            (for example: WaS the case ismissed? Was it appealed?

                          @'T
                 Approximate date of dispositi""'
                                                                 Re^1.       S   ro.^-   to lr^r-         t / f S /Z 3
IF YOU HAVE FILED MORE THAN ONE LAWSUIT,THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.




                                                                                                                      Revised 9/2007




         flf you need additional space for ANY section, please attach an additional sheet and reference that section.l
     Case: 1:23-cv-01975 Document #: 1 Filed: 03/29/23 Page 4 of 8 PageID #:4
      Qlf you need additional space for ANY section, please attach an additional sfbet and reference that section.]




w.   Statement of Claim:

     S&te here as briefly as possible the facts of your case. bescribe how each defendant is
     involved, including narnes, dates, and places. Do not give any legal arguments or cite any
     cases or statutes. If you intend to allege a number of related claims, number and set forth
     each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
     if   necessary.)




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          [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]
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Case: 1:23-cv-01975 Document #: 1 Filed: 03/29/23 Page 5 of 8 PageID #:5
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      Case: 1:23-cv-01975 Document #: 1 Filed: 03/29/23 Page 7 of 8 PageID #:7
        [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]




v.     Relief:

       State briefly exactly what you want the court to do for                   you. Make no legal arguments.
       no cases or statutes.

      otf,er



VI.
      _.- y'Il1" x._ L[-.6-ly, Z^6wi{i}u}.rl.r.Ji }r..J
      The plaintiff demands thdt the case be tried by a jury.
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                                                                                   )1{'

                                                                         CERTIFICATION

                                       By signing this Complaint, I certifu that the facts stated in this
                                       Complaint are true to the best of my knowledge, information and
                                       belief. I understand that if this certification is not correct, I may be
                                       subject to sanctions by the Court.

                                       Si        thi, 8\"y"r                     llArroh- 2023
                              (r)

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                                 (r)
                                12)
                                       (Print name)




                                       (Address)




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